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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   In Re:                                               : Bankruptcy No. 20-10849-AMC
   Juanita Rowser and Kenneth L Rowser                  : Chapter 13
                       Debtors                          :
                                                        :
   Deutsche Bank National Trust Company, as             :
   Indenture Trustee, on behalf of the holders of the   :
   Accredited Mortgage Loan Trust 2006-2 Asset          :
   Backed Notes c/o Select Portfolio Servicing Inc.     :
                         Movant                         :
                                                        :
                 vs.                                    :
   Juanita Rowser and Kenneth L Rowser                  :
                       Debtors/Respondents              :
                 and                                    :
   Scott Waterman, Esquire                              :
                       Trustee/Respondent               :

     MOTION FOR RELIEF FROM AUTOMATIC STAY, UNDER 11 U.S.C. § 362

          Movant, by its Attorneys, Hladik, Onorato & Federman, LLP, hereby requests a
   Termination of the Automatic Stay and leave to proceed with its State Court rights
   provided under the terms of the Mortgage.

          1.      Movant is Deutsche Bank National Trust Company, as Indenture Trustee,
   on behalf of the holders of the Accredited Mortgage Loan Trust 2006-2 Asset Backed
   Notes c/o Select Portfolio Servicing Inc. (“Movant”).

           2.     Debtors, Juanita Rowser and Kenneth L Rowser (“Debtors”) are the
   owners of the premises located at 4383 Garfield Lane, Feasterville Trevose, PA 19053
   (the “Property”).

          3.      Scott Waterman, Esquire is the Trustee appointed by the Court.

         4.     Debtors filed a Petition for Relief under Chapter 13 of the Bankruptcy
   Code on February 12, 2020.

          5.     Movant is the holder of a mortgage lien on the Property in the original
   principal amount of $148,000.00, which was recorded on August 08, 2006 (the
   “Mortgage”). A true and correct copy of the Mortgage is attached hereto as Exhibit “A.”

         6.       The Mortgage was assigned to Movant by way of a written assignment of
   mortgage, recorded on November 17, 2009. A true and correct copy of the assignment of
   mortgage is attached hereto as Exhibit “B.”
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          7.      As of 09/09/2020, the unpaid principal balance is $134,000.80.

          8.     As of 09/09/2020, Movant has not received the monthly post-petition
   Mortgage payments from August 01, 2020 through September 01, 2020 in the amount of
   $1,533.91 each, less suspense in the amount of $3.36, for a total post-petition arrearage of
   $3,064.46.

          9.     The entity that has the right to foreclose is Deutsche Bank National Trust
   Company, as Indenture Trustee, on behalf of the holders of the Accredited Mortgage
   Loan Trust 2006-2 Asset Backed Notes c/o Select Portfolio Servicing Inc. by virtue of
   being owner and holder of note.

          10.   Movant has cause to have the Automatic Stay terminated, in order to
   permit Movant to complete foreclosure on its Mortgage.

          11.    This Motion and the averments contained herein do not constitute a waiver
   by the Movant of its right to seek reimbursement of any amounts not included in this
   Motion, including fees and costs, due under the terms of the Mortgage and applicable
   law.

   WHEREFORE, Movant respectfully requests that this Court enter an Order:

          a.     Modifying the Automatic Stay under 11 U.S.C. § 362 of the Bankruptcy
          Code with respect to the Property as to permit Movant to foreclose on its
          Mortgage and allow Movant or any other purchaser at Sheriff’s Sale to take legal
          or consensual action for enforcement of its right to possession of, or title to; and

          b.      Granting any other relief that this Court deems equitable and just.


                                                    Respectfully Submitted,

   Date: 11/18/2020                                 /s/ Antonio Bonanni, Esquire
                                                    Antonio, Bonanni, Esquire
                                                    Hladik, Onorato & Federman, LLP
                                                    Attorney I.D. # 322940
                                                    298 Wissahickon Avenue
                                                    North Wales, PA 19454
                                                    Phone 215-855-9521
                                                    Email: abonanni@hoflawgroup.com
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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In Re:                                                : Bankruptcy No. 20-10849-AMC
Juanita Rowser and Kenneth L Rowser                   : Chapter 13
                    Debtors                           :
                                                      :
Deutsche Bank National Trust Company, as              :
Indenture Trustee, on behalf of the holders of the    :
Accredited Mortgage Loan Trust 2006-2 Asset           :
Backed Notes c/o Select Portfolio Servicing Inc.      :
                      Movant                          :
                                                      :
              vs.                                     :
Juanita Rowser and Kenneth L Rowser                   :
                    Debtors/Respondents               :
              and                                     :
Scott Waterman, Esquire                               :
                    Trustee/Respondent                :

                      CERTIFICATION OF SERVICE OF MOTION,
                      RESPONSE DEADLINE AND HEARING DATE

            I, Antonio Bonanni, Esq., attorney for Movant, Deutsche Bank National Trust
Company, as Indenture Trustee, on behalf of the holders of the Accredited Mortgage Loan Trust
2006-2 Asset Backed Notes c/o Select Portfolio Servicing, Inc., hereby certify that I served a true
and correct copy of the Motion for Relief from Automatic Stay and Notice of Motion, Response
Deadline and Hearing Date, by United States Mail, first class, postage prepaid, or Electronic
Mail on 11/18/2020 upon the following:

Brad J. Sadek, Esquire                       Juanita Rowser
Via ECF                                      Kenneth L Rowser
Attorney for Debtors                         4383 Garfield Lane
                                             Feasterville Trevose, PA 19053
Scott Waterman, Esquire                      Via First Class Mail
VIA ECF                                      Debtors
Trustee

Dated: 11/18/2020                                /s/ Antonio Bonanni, Esquire
                                                 Antonio, Bonanni, Esquire
                                                 Hladik, Onorato & Federman, LLP
                                                 Attorney I.D. # 322940
                                                 298 Wissahickon Avenue
                                                 North Wales, PA 19454
                                                 Phone 215-855-9521
                                                 Email: abonanni@hoflawgroup.com
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                               EXHIBIT B
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